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 12                            UNITED STATES DISTRICT COURT
 13                          CENTRAL DISTRICT OF CALIFORNIA
 14                                    SOUTHERN DIVISION
 15

 16 GLAUKOS CORPORATION, a                      )   Case No. 8:18-cv-00620-JVS-JDE
      Delaware Corporation,                     )
 17                                             )   JOINT STIPULATION
                       Plaintiff and Counter-   )   REGARDING GLAUKOS’S
 18                    Defendant,               )
                                                )   MOTION TO COMPEL IVANTIS
 19               v.                            )   TO RESPOND TO REQUEST FOR
                                                )   PRODUCTION NOS. 27, 28, 29, 31,
 20 IVANTIS, INC., a Delaware                   )
      Corporation,                              )   and 39
 21                                             )
                       Defendant and            )   Hearing Date: January 24, 2019
 22                    Counterclaimant.         )   Hearing Time: 10:00 a.m.
                                                )   Courtroom: 6A
 23                                             )
                                                )   Discovery Cut-off: June 24, 2019
 24                                             )   Pre-trial conference: Jan. 13, 2020
                                                )   Trial date: February 4, 2020
 25                                             )
                                                )   [Discovery Document: Referred to
 26                                             )   Magistrate Judge John D. Early]
 27

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  1               Pursuant to Local Civil Rule 37-2.1, Plaintiff Glaukos Corporation (“Glaukos”)
  2 and Defendant Ivantis, Inc. (“Ivantis”) hereby submit the following joint stipulation

  3 in connection with Glaukos’s concurrently filed Notice of Motion to Compel Ivantis

  4 to Respond to Request for Production Nos. 27, 28, 29, 31, and 39. Attached hereto as

  5 Exhibit A is a copy of the current scheduling order, Docket No. 50-1.

  6                           GLAUKOS’S INTRODUCTORY STATEMENT
  7               Plaintiff Glaukos was founded nearly two decades ago in Laguna Hills,
  8 California, with a vision of changing the standard of care for glaucoma treatment.

  9 Using its patented technology, Glaukos envisioned that the effects of glaucoma could

 10 be relieved by surgically inserting into “Schlemm’s canal” of the eye a tiny, specially

 11 designed medical implant. After years of effort and more than $300 million in

 12 funding, Glaukos’s vision became a reality with the FDA’s 2012 approval of

 13 Glaukos’s patented “iStent®” for treatment of mild-to-moderate glaucoma. More than

 14 400,000 eyes worldwide have been treated using Glaukos’s patented technology.

 15               In April of 2018, Glaukos filed this patent infringement action against
 16 Defendant Ivantis, Inc. (“Ivantis”), which was then in the process of seeking FDA

 17 approval for a competing product to be used in Schlemm’s canal, known as the

 18 “Hydrus.” Dkt. 1. Ivantis has made no secret of its hope to use the infringing Hydrus

 19 product to free ride on Glaukos’s extensive investments in creating a market for the

 20 patented technology. In a public presentation that Glaukos located on the Internet

 21 from December of 2017, Ivantis displays a chart showing $164 million (Glaukos’s

 22 estimated 2017 revenue) as its definition of the market, identifies Glaukos’s iStent as

 23 the only product then on the market for use in Schlemm’s canal, and “thanks” Glaukos

 24 for “building this category to date.” Payne Decl. ¶ 2, Exs. 1, 2. In August of 2018,

 25 Ivantis’s “Hydrus” product was approved by the FDA, and Ivantis appears to have

 26 begun distributing a small number of commercial “Hydrus” units in the United States.

 27               On August 7, 2018, Glaukos served discovery requests seeking, among other
 28 things, basic information about Ivantis’s infringing activities, Ivantis’s financials, and


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  1 Ivantis’s communications with the inventors of Glaukos’s patents, including RFP

  2 Nos. 27, 28, 29, 31, and 39 discussed herein.

  3               The parties’ counsel held a telephone conference on October 15, 2018
  4 regarding these and other requests. Payne Decl. ¶ 4. Glaukos sent several follow-up

  5 letters after the call. Payne Decl. ¶ 6, Exs. 4-6. However, it has now been more than

  6 two months and Ivantis still has not addressed the deficiencies that Glaukos identified.

  7 Id. On December 20, 2018, the parties held a second telephone conference, but Ivantis

  8 still refused to commit to producing the documents at issue. Ivantis’s delay is

  9 seriously impairing Glaukos’s ability to present damages contentions (which are due

 10 January 141) and prepare for depositions. Payne Decl. ¶¶ 8, 9.

 11               There are many deficiencies in Ivantis’s discovery responses that the parties
 12 are continuing to discuss, but this motion focuses narrowly on selected requests that

 13 address threshold issues relevant to the upcoming damages contention deadline.

 14 Glaukos very much appreciates the Court’s assistance with these matters.

 15                             IVANTIS’S INTRODUCTORY STATEMENT
 16               Glaukos’s introductory statement mischaracterizes the merits of the case with
 17 little discussion of the discovery issues raised in its motion. On the merits of the case,

 18 let it suffice to say that: (1) discovery exchanged thus far shows that Ivantis’s

 19 Hydrus® device is clinically superior to Glaukos’s iStent product and promises to be

 20 able to treat many patients who could not be treated with the iStent; and (2) Ivantis

 21 strongly contests Glaukos’s accusations of infringement and will show, moreover,

 22 that the asserted claims of Glaukos’s patents are invalid.

 23               As for the discovery issues, these are narrow issues that Glaukos raises now to
 24 distract from Ivantis’s contemporaneously filed motion to compel, which raises

 25 disputes of actual urgency. Indeed, for most of the issues that Glaukos raises, it is not

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 28           The deadline was set as January 4 by the Scheduling Order, but the parties
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      stipulated to extend their respective damages contention deadlines to January 14.

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  1 clear what exactly the dispute is—Ivantis has either already complied with the request

  2 or has agreed to do so.

  3               In this respect, Glaukos’s description of the meet-and-confer process is
  4 misleading. The parties’ October 15, 2018 phone call was initiated by Ivantis to

  5 discuss Ivantis’s own discovery requests (with which Glaukos still has not complied).

  6 During the call, Glaukos pointed to its own discovery requests to justify its failure to

  7 produce discovery in response to Ivantis’s requests. See Santacana Decl., ¶ 3. Weeks

  8 later (on November 7, 2018) Glaukos sent a 15-page letter addressing more than 50

  9 discovery requests on the part of both parties, with no focus on the specific requests

 10 raised in the current Motion. Nor did Glaukos suggest that it needed any of the

 11 discovery that it discussed prior to the deadline for damages contentions.

 12               Since that time, Ivantis has produced thousands of documents, well in excess
 13 of Glaukos’s production in both scope and volume. Id., ¶ 8. It was not until December

 14 18, 2018, however, in response to Ivantis’s written arguments in support of its motion

 15 to compel, that Glaukos identified the discovery raised in its Motion as necessary for

 16 the preparation of damages contentions; the parties held another call on December 20,

 17 and Glaukos initiated the motion to compel process the following day, before Ivantis

 18 had adequate time to address the issues raised in the Motion. Id., ¶¶ 6–7.

 19               If Glaukos had conferred on these issues and identified them in a more timely
 20 manner, its present Motion would have been narrowed, if not obviated. In particular,

 21 although Ivantis disputes the relevance of “historical cost information” (that is, cost

 22 information for development and/or manufacture of Hydrus® prior to commercial

 23 launch), it will produce responsive documents in short order. Similarly, now that

 24 Glaukos has, for the first time in this submission, conclusively identified a narrowed

 25 scope of its Document Request Number 39 (which asks for all documents relating to

 26 Glaukos or its patents) to three specific categories of information, Ivantis will also

 27 produce responsive documents.

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  1               One key remaining dispute, however, is whether Glaukos should be allowed to
  2 leverage the discovery process in this case for the improper purpose of initiating new

  3 proceedings against Ivantis’s foreign business partners. Glaukos’s Request No. 28

  4 (i.e., the second sub-part of Disputed Issue #1) seeks to obtain the locations and

  5 activities of Ivantis’ foreign manufacturing partner(s). Ivantis has already produced

  6 very extensive documentation regarding its overseas manufacturing process, and

  7 Glaukos does not raise a single inadequacy in that production. Moreover, information

  8 relating to the specific locations and identities of Ivantis’ foreign manufacturing

  9 partners is irrelevant to any claim of infringement that Glaukos has alleged.

 10 Nevertheless, Glaukos insists on knowing the names and locations of these

 11 manufacturers so that it can initiate new proceedings against them—a tactic that

 12 would violate the Protective Order’s prohibition against use of a party’s confidential

 13 information for purposes of other proceedings.

 14               Finally, Glaukos’s sudden claim of urgency—that it needs the documents at
 15 issue to prepare damages contentions—is false. If Glaukos truly needed these

 16 documents to prepare damages contentions, it would have raised these issues weeks

 17 earlier. Additionally, Glaukos fails to explain why the specific information at issue—

 18 such as the details of Ivantis’s manufacturing process—is necessary for the

 19 preparation of damages contentions, and no plausible explanation exists. Notably,

 20 Glaukos only raised the argument that it needed the documents at issue for damages

 21 contentions after it learned that Ivantis intended to submit its own motion to compel.

 22 Santacana Decl., ¶¶ 6–7.

 23               For these reasons, which are discussed in more detail below, Glaukos’s motion
 24 to compel should be denied.

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  1               Disputed Issue #1: Whether Ivantis should promptly comply with Request
  2 for Production Nos. 27 and 28 by producing documentation identifying the

  3 entities involved in each aspect of manufacturing, exporting, and importing the

  4 accused Hydrus product and their geographic locations.

  5               The text of the requests at issue and Ivantis’s responses are below.
  6               REQUEST FOR PRODUCTION NO. 27: Documents sufficient to show
  7               the manufacturing, assembly, or production process for the Hydrus device,
  8               including all materials used and all manufacturing and assembly steps, and
  9               any changes to the materials used or the manufacturing and assembly steps.
 10               RESPONSE TO REQUEST FOR PRODUCTION NO. 27: Ivantis
 11               incorporates its general objections. Ivantis objects to the extent this
 12               Request seeks information subject to the attorney-client privilege, work
 13               product doctrine, and/or other applicable privilege. Subject to the
 14               foregoing objections, Ivantis invites Glaukos to meet and confer
 15               concerning the proper scope of this Request, if any.
 16               REQUEST FOR PRODUCTION NO. 28: Documents sufficient to show
 17               the geographic locations for design, assembly, manufacture, use, sale, offer
 18               for sale, importing, or exporting of the Hydrus (and each component
 19               thereof), and the timing and extent of activities at each such location.
 20               RESPONSE TO REQUEST FOR PRODUCTION NO. 28: Ivantis
 21               incorporates its general objections. Ivantis objects to the extent this
 22               Request seeks information subject to the attorney-client privilege, work
 23               product doctrine, and/or other applicable privilege. Ivantis also objects to
 24               the extent this Request seeks information on foreign activities unconnected
 25               to manufacture, use, sale, or offer for sale of accused products in the United
 26               States. Subject to the foregoing objections, Ivantis will produce non-
 27               privileged, nonduplicative documents in its possession and/or control
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  1               responsive to this Request pertaining to manufacture, use, sale, offer for
  2               sale, import, or export of the Hydrus in the United States.
  3               GLAUKOS’S CONTENTIONS REGARDING THE DISPUTED ISSUE
  4               RFP Nos. 27 and 28 seek basic information needed to determine the scope of
  5 Ivantis’s infringement and the specific involvement of Ivantis affiliates or third parties

  6 therein. These requests followed an earlier request served on June 27, 2018, RPF No.

  7 13, which sought documents sufficient to show “the geographic location(s) of

  8 [Ivantis’s] manufacturing, assembling, and inventory.” Ivantis similarly did not

  9 identify its manufacturers or produce geographic information responsive to that

 10 request. To ensure that the specific entities involved in each step of the infringing

 11 activities were identified, Glaukos served RFP Nos. 27 and 28 on August 7, 2018.

 12               In its written responses to RFP Nos. 27 and 28, Ivantis never objected that the
 13 requests are burdensome or disproportionate to the needs of the case. Indeed, Ivantis

 14 served a very similar request to Glaukos, RFP No. 21 seeking documents “sufficient

 15 to identify all entities involved in the design, development, manufacture, fabrication,

 16 testing, installation, and/or assembly of any Glaukos Product that embodies any

 17 invention described and/or claimed in Glaukos’s Asserted Patents.” Payne Decl. ¶ 4.

 18 In response, Glaukos produced a summary of its own manufacturing vendors and their

 19 geographic locations. Payne Decl. ¶¶ 4, 5.

 20               Ivantis nonetheless asserts in its written responses that it will not produce any
 21 responsive documents relating to “foreign activities.” (It appears that most or all of

 22 Ivantis’s manufacturers and distributors are overseas, as Ivantis has produced little or

 23 no information about third parties engaged in domestic manufacture or distribution.)

 24 There is no basis for Ivantis to withhold information about the participants in

 25 manufacture and distribution of Ivantis’s accused products merely because their

 26 activity occurs in whole or in part in a foreign country. Foreign manufacturing and

 27 distribution activity is centrally relevant to patent infringement. That is especially so

 28 here, as Ivantis has represented to the Court that at least some of the accused Hydrus


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  1 products are manufactured overseas and then imported into the United States for

  2 assembly and sale. See Dkt. 23, p. 4 at ¶ 13 (Ivantis declaration stating, “Ivantis does

  3 not manufacture the Hydrus® Microstent in the United States. The Hydrus

  4 devices…were manufactured outside of the United States and combined with their

  5 delivery applicators in California”).

  6               First, Glaukos should not be required to simply take at face value Ivantis’s
  7 generalized assertion that manufacturing (or some of it) is performed overseas by

  8 unspecified entities. Rather, Ivantis should provide documentation of specifically

  9 where, and by whom, each aspect of the manufacturing is performed.

 10               Second, if some or all of the accused devices are manufactured overseas, that
 11 does not render them non-infringing. The Patent Act expressly defines infringement

 12 to include, among other things, importation into the United States of products and

 13 components made in foreign countries. See 35 U.S.C. § 271 (a) (importation of a

 14 patented product manufactured overseas is an act of patent infringement); see also 35

 15 U.S.C. § 271 (c) (importation of components of an infringement product can be an act

 16 of infringement) § 271 (f) (supplying components to be assembled overseas can be an

 17 act of infringement). It is important for Glaukos to know which products are made

 18 overseas and imported in the United States, which are made in the United States,

 19 whether any are made in part in the United States and in part elsewhere (and who is

 20 engaged in each activity) so it can properly frame its infringement case against the

 21 each infringing act and entity.

 22               Third, it is essential for Ivantis to disclose where and by whom its accused
 23 products are manufactured and distributed is so that Glaukos can take any necessary

 24 discovery from the third parties. Indeed, it may be necessary to bring additional parties

 25 into this action or initiate separate actions depending on exactly which entities are

 26 engaged in which aspects of manufacture and distribution of the accused devices.

 27 With foreign entities, that process would need to be started soon, as it can take months

 28 to obtain discovery under the treaties applicable to third party discovery in foreign


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  1 countries. See, e.g., Federal Judicial Center International Litigation Guide (2015) at

  2 p. 9 (“It may take six months or more to receive a response pursuant to a letter of

  3 request submitted pursuant to the Hague Convention procedures.”). Knowing who the

  4 third parties are and which specific foreign country they operate in are essential to

  5 that process. For these and other reasons, the identities of the manufacturers of an

  6 infringing product are clearly discoverable. See, e.g., Ultra Athlete, LLC v. Aruajo,

  7 14-17-cv-00237 (S.D. Ind. June 22, 2018 (rejecting argument that “the identity of

  8 manufacturers is not relevant because they are foreign” and holding that “all

  9 documents the defendants have that concern the manufacturer clearly are relevant.”).

 10               At the meet and confer, Glaukos offered to accept a single spreadsheet created
 11 by Ivantis listing the identities and locations of each participant in manufacturing,

 12 importing, and exporting its infringing Hydrus product (and the role of each

 13 participant), but Ivantis refused even this very narrow proposal. Because the

 14 information sought is relevant and Ivantis has asserted no valid objection, Ivantis

 15 should be ordered to promptly respond in full to Request Nos. 27 and 28—and at a

 16 very minimum to provide the spreadsheet proposed by Glaukos as a compromise

 17 setting forth the identities, locations, and roles of each entity involved in

 18 manufacturing the accused Hydrus products.

 19                IVANTIS’S CONTENTIONS REGARDING THE DISPUTED ISSUE
 20               Glaukos’s Request No. 27 seeks documents “sufficient to show the
 21 manufacturing, assembly, or production process for the Hydrus device” and Ivantis

 22 has produced a full complement of responsive documents satisfying this request. For

 23 example, Ivantis has produced the Hydrus Manufacturing Master Validation Report

 24 (IVNTS_0009396-411) and manufacturing Process Flow Charts for the original and

 25 current Hydrus designs (IVNTS_00008975-980 and IVNTS_00009405-408).                                     In
 26 addition, Ivantis has produced “Manufacturing Procedure” documents that provide

 27 the complete steps for manufacturing, assembly, and production processes for the

 28 Hydrus See IVNTS_00006156-392.


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  1               The manufacturing procedures described in documents such as these are
  2 accompanied by graphics and/or photographs that depict the steps.                       Specifically,
  3 Ivantis has produced the Manufacturing Procedure for the Side Interlock Cannula Hub

  4 Subassembly at IVNTS_00006229-233, the Manufacturing Procedure for the Side

  5 Interlock Rack Subassembly at IVNTS_00006234-237, Manufacturing Procedure for

  6 the Subassembly of the Delivery System at IVNTS_0006238-245, the Manufacturing

  7 Procedure for the Subassembly of the Hydrus Microstent at IVNTS_00006175-186,

  8 the Manufacturing Procedure for the Finished Device of the Hydrus Microstent at

  9 IVNTS_00006342-357.

 10               Ivantis has also produced schematic drawings and specifications of the parts
 11 and subassemblies of the Hydrus. These documents provide the material of the part

 12 and include notes regarding, for example, the part’s source, certification, inspection,

 13 packaging, dimensions, and descriptions and dates of revisions. See, e.g.,

 14 IVNTS_00005403-415,                  IVNTS_00005429-501,               IVNTS_00005511-562,
 15 IVNTS_00005576-630,                     IVNTS_00005643,                IVNTS_00005645-649,
 16 IVNTS_00005659-696,                  IVNTS_00005710-716,               IVNTS_00005718-724,
 17 IVNTS_00005748,                    IVNTS_00005759-766,                 IVNTS_00005777-833,
 18 IVNTS_00005835-927,                  IVNTS_00005929-997,               IVNTS_00008504-590,
 19 IVNTS_00005998-155. Ivantis has further produced Lot History Records for finished

 20 Hydrus device lots and subassembly lots that similarly provide steps for

 21 manufacturing, assembly, and inspection procedures as well as the materials and parts

 22 involved. See, e.g., IVNTS_00001241 to IVNTS_00003155.

 23               The documents described above relating to manufacturing, assembly, and
 24 production more than satisfy Glaukos’s request for documents “sufficient to show”

 25 these processes. Indeed, Glaukos has not raised any substantive concern about the

 26 sufficiency of these documents.

 27               With respect to Glaukos Request No. 28, “the only activities that are relevant
 28 to direct infringement are those activities that take place within the borders of the


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  1 United States. Extraterritorial activities are irrelevant.” Cybiotronics, Ltd. v. Golden

  2 Source Elecs. Ltd., 130 F. Supp. 2d 1152, 1163–64 (C.D. Cal. 2001) (citing Rotec

  3 Industries, Inc. v. Mitsubishi Corporation, 215 F.3d 1246, 1251 (Fed. Cir. 2000)); see

  4 also Power Integrations, Inc. v. Fairchild Semiconductor Int'l, Inc., 711 F.3d 1348,

  5 1371 (Fed. Cir. 2013) (“It is axiomatic that U.S. patent law does not operate

  6 extraterritorially to prohibit infringement abroad.”).              Accordingly, to the extent
  7 Glaukos’s Request for Production No. 28 seeks the specific “geographic locations” of

  8 extraterritorial activities, the request seeks information that is irrelevant and, thus, not

  9 discoverable. Contrary to Glaukos’s assertions, the particular geographic locations of

 10 extraterritorial activities are irrelevant to whether Ivantis “imports into the United

 11 States any patented invention,” 35 U.S.C. § 271(a), or “imports into the United States

 12 a component of a patented [invention],” 35 U.S.C. § 271(c)—all that matters is what

 13 Ivantis imports. Evidence of Ivantis’s domestic activities, much of which has already

 14 been produced, is wholly sufficient to address such inquiries. Furthermore, although

 15 Glaukos cites to 35 U.S.C. § 271(f) in its above statement, Glaukos has never alleged,

 16 either in its complaint or its infringement contentions, infringement under that

 17 provision.          Thus, Glaukos should not be permitted to seek discovery related to
 18 § 271(f). Nevertheless, the geographic locations of extraterritorial activities are also

 19 irrelevant to whether Ivantis “supplies or causes to be supplied in or from the United

 20 States all or a substantial portion of the components of a patented invention.” 35

 21 U.S.C. § 271(f). See Cybiotronics, 130 F. Supp. 2d at 1163–64.2

 22               Notably, neither of Glaukos’s requests actually call for the identity of Ivantis’s
 23 foreign business partners. Request No. 27 asks for the details of the manufacturing

 24 process, which Ivantis has produced, and Request No. 28 asks for geographic

 25

 26
     Glaukos attempts to equate its Requests with Ivantis’s own Request No. 21
      2

 27 propounded  on Glaukos, relating to entities involved in the development,
    manufacture, testing, and/or assembly of its accused products. But Ivantis has never
 28 pressed Glaukos on the details of its foreign activities and Ivantis is willing to
    produce information regarding its domestic business partners.

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  1 locations and the timing and extent of activities. For that reason alone, Glaukos is not

  2 entitled to the identities of Ivantis’s foreign business partners.

  3               Moreover, Glaukos’s insistence, in the present motion, that Ivantis identify
  4 entities involved in extraterritorial activities so that Glaukos might seek discovery

  5 from, or bring legal action against, third parties is a thinly veiled attempt to impede

  6 Ivantis’s operations by interfering in its relationships with its foreign business

  7 partners. As described above, Ivantis has already produced a significant volume of

  8 documents regarding its manufacturing process. Nevertheless, Glaukos has not

  9 identified any deficiency in that production, nor has Glaukos identified what further

 10 discovery it might propound from Ivantis’s foreign business partners that Ivantis has

 11 not itself already produced. In any event, just as Glaukos is not entitled to seek

 12 irrelevant information from Ivantis related to extraterritorial activities, Glaukos is not

 13 entitled to seek irrelevant information from third parties related to such activities. It

 14 is therefore clear that Glaukos does not seek legitimate discovery from these third

 15 parties.

 16               Rather, as Glaukos admits, it seeks to “initiate separate actions” against these
 17 third parties—which would be an improper use of discovery in this case and a clear

 18 violation of the Protective Order. Santacana Decl., Ex. A (D.I. 36) (Stip. & Prot.

 19 Order) § 9.1 (“A Receiving Party may use Protected Material . . . in connection with

 20 this Action only for prosecuting, defending or attempting to settle this Action.”).

 21 Moreover, Glaukos has not alleged, nor can it allege, that any foreign entity has

 22 engaged in activity that would amount to infringement pursuant to any provision of

 23 § 271, or that would justify joining that entity as a defendant in this case. And in any

 24 event, the deadline to amend the pleadings has passed. Glaukos’s plan to harass third

 25 parties and to obtain information irrelevant to this case cannot be disguised as a proper

 26 discovery request, and Glaukos’s attempt to do so should be denied.

 27

 28


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  1               Disputed Issue #2: Whether Ivantis should be required to promptly
  2 comply with Request for Production Nos. 29 and 31 by producing historical

  3 financial information and by producing documentation of its plans to target

  4 Glaukos customers.

  5               The text of the requests at issue and Ivantis’s responses are below.
  6               REQUEST FOR PRODUCTION NO. 29: Documents sufficient to
  7               show the cost, projected cost, profit, projected profit, revenue, projected
  8               revenue, margins, projected margins, or other business metrics or
  9               projected business metrics associated with producing and selling the
 10               Hydrus.
 11               RESPONSE TO REQUEST FOR PRODUCTION NO. 29: Ivantis
 12               incorporates its general objections. Ivantis objects to the extent this
 13               Request seeks information subject to the attorney-client privilege, work
 14               product doctrine, and/or other applicable privilege. Ivantis also objects
 15               to the extent this Request seeks information associated with the
 16               production and sale of products outside the United States. Subject to
 17               the foregoing objections, Ivantis will produce non-privileged
 18               documents in its possession and/or control sufficient to show the cost,
 19               projected cost, profit, projected profit, revenue, projected revenue,
 20               margins, and projected margins for accused products manufactured or
 21               sold in the United States.
 22               REQUEST FOR PRODUCTION NO. 31: Your financial statements,
 23               business plans, sales plans, and marketing plans relating to the Hydrus.
 24               RESPONSE TO REQUEST FOR PRODUCTION NO. 31: Ivantis
 25               incorporates its general objections. Ivantis objects to the extent this
 26               Request seeks information subject to the attorney-client privilege, work
 27               product doctrine, and/or other applicable privilege. Ivantis also objects
 28               to this Request to the extent it is not limited to the United States. Subject

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  1               to the foregoing objections, Ivantis will produce responsive
  2               nonprivileged, non-duplicative documents in its possession and/or
  3               control.
  4               GLAUKOS’S CONTENTIONS REGARDING THE DISPUTED ISSUE
  5               RFP Nos. 29 and 31 seek information that is indisputably relevant to (among
  6 other things) damages. Ivantis does not dispute that these requests are relevant, or

  7 make any other objection to complying with the requests. Indeed, Ivantis purported

  8 to agree to fully comply with Request No. 31 in its response, which was served on

  9 September 6, 2018. However, more than three months and multiple unanswered

 10 letters and e-mails later, Ivantis has not done so.

 11               For example, Ivantis has produced no documentation of Ivantis’s historical
 12 revenue sources and costs (such as research and development, sales, testing, and

 13 regulatory costs) related to the Hydrus product. This information is highly relevant to

 14 Glaukos’s efforts to fully quantify the financial advantages that Ivantis has reaped

 15 from its infringement of Glaukos’s patents, other facts relevant to the parties’

 16 positions at the time of a hypothetical “reasonable royalty” negotiation, and the extent

 17 of Glaukos’s lost profits from Ivantis’s infringement. See, e.g., 35 U.S.C. Sec. 284

 18 (“the court shall award the claimant damages adequate to compensate for the

 19 infringement but in no event less than a reasonable royalty for the use of the invention

 20 by the infringer”); Georgia-Pacific Corp. v. United States Plywood Corp., 318 F.

 21 Supp. 1116, 1120 (S.D.N.Y. 1970) (citing factors relevant to a reasonable royalty

 22 including “established profitability of the product made under the patent; its

 23 commercial success; and its current popularity,” the “utility and advantages of the

 24 patent property over the old modes or devices,” and the “extent to which the infringer

 25 has made use of the invention; and any evidence probative of the value of that use”);

 26 Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1078 (Fed. Cir. 1983) (“If the

 27 record permits the determination of actual damages, namely, the profits the patentee

 28 lost from the infringement, that determination accurately measures the patentee's


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  1 loss.”); id. at 1080-81 (“Reliance upon estimated cost savings from use of the

  2 infringing product is a well-settled method of determining a reasonable royalty.”).

  3               Ivantis similarly has not made any meaningful production of documents
  4 reflecting internal business, marketing, or sales plans discussing its targeting of

  5 Glaukos customers. This omission is particularly concerning given that Glaukos was

  6 able to find on the public Internet presentations in which Ivantis touted its similarity

  7 to Glaukos’s iStent® products and described its plan to take share from Glaukos in

  8 the market that Glaukos created. Payne Decl. ¶ 2, Exs. 1, 2. Ivantis has also recently

  9 hired two Glaukos salespersons with detailed knowledge of Glaukos’s customer base

 10 and pricing, Dave Olson and Tim Gregory. Furthermore, a Board of Directors

 11 presentation produced by Ivantis includes a page indicating that Ivantis has been

 12 collecting information about specific Glaukos customers and their dealings with

 13 Glaukos (including specific volumes and average sales price) as part of Ivantis’s

 14 efforts to take business from Glaukos using Ivantis’s infringing product. Payne Decl.

 15 Ex. 3 (IVNTS_00020338)). Yet Ivantis has not produced any other documents

 16 regarding its targeting of Glaukos customers. For example, Ivantis has not produced

 17 its communications with the Glaukos customers identified in the Board of Directors

 18 presentation, internal discussions about how to target these and other current Glaukos

 19 customers, or any emails or other documents from the two Ivantis salespersons that

 20 Ivantis recently hired from Glaukos (Mr. Olson and Mr. Gregory).

 21               During meet and confer and its correspondence leading up to the meet and
 22 confer, Glaukos asked that Ivantis promptly:

 23               (1) provide its historical financial data setting forth revenue/funding sources
 24 and categories of expenses (such as research and development, sales, and regulatory

 25 costs) related to the Hydrus product, by quarter (or month, if available), and

 26               (2) conduct a reasonable search of e-mail and non-e-mail sources for
 27 documents discussing its plans to compete with Glaukos, including without limitation

 28 all documents regarding contact with Ivantis with Glaukos customers, or internal


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  1 discussions regarding Glaukos’s customers, volumes, and pricing (this is category is

  2 also responsive to RFP No. 39, discussed below).

  3               With respect to the first category, Ivantis offered only vague statements that it
  4 would “look into” the issue, but refused to commit to any particular supplementation

  5 or a timeframe for doing so. With respect to the second category, Ivantis refused to

  6 disclose whether it had conducted any such searching to date (claiming that the topic

  7 was “privileged”) and did not commit to complying with the proposal.

  8                It is imperative that Ivantis make a full production regarding its historical data
  9 and its attempts to target Glaukos customers without further delay, given the direct

 10 relevance of both categories to both quantification of damages and willfulness.

 11 Glaukos therefore respectfully requests that its motion to compel be granted.

 12                IVANTIS’S CONTENTIONS REGARDING THE DISPUTED ISSUE
 13               Glaukos’s Request No. 29 seeks documents sufficient to show the cost, profit,
 14 revenue, margins, or other business metrics associated with producing and selling the

 15 Hydrus, or projections thereof. Ivantis agreed to and produced documents fulfilling

 16 this request, including a chart with revenue, cost of goods sold (COGS), gross profit,

 17 and units sold since Ivantis began commercial sale of Hydrus in the United States

 18 following FDA approval in August 2018 (IVNTS_00011685); inventory balances

 19 spreadsheets providing Hydrus unit costs for raw materials, subassembly, WIP, and

 20 finished          product    (IVNTS_00011615);            spreadsheets      of     customer           pricing
 21 (IVNTS_00012422-425); presentations and spreadsheets providing actual and

 22 projected U.S. sales, units, and average selling price (ASP) (IVNTS_0012426-433,

 23 IVNTS_00012495-502, IVNTS_00012438, IVNTS_00012494; IVNTS_00020875,

 24 IVNTS_00022430, IVNTS_00022221, and IVNTS_00022295); an operating plan for

 25 2018 showing net sales, COGS, gross margin, and operating expenses, including

 26 breaking out expenses for Research and Development, Operations, Regulatory,

 27 Clinical, and Sales and Marketing (IVNTS_00012437); a balance sheet and inventory

 28 valuation summary spreadsheet for 2018 (IVNTS_00011614); weekly sales report


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  1 (IVNTS_00012503-509); consolidated income sheets, providing net revenues, cost of

  2 sales, gross profit, operating expenses broken out to show clinical, manufacturing,

  3 marketing, operations, quality, regulatory, research and development, and sales

  4 expenses, other income or loss, and net income or loss (IVNTS_00022608-609); and

  5 spreadsheets containing operating plan details for 2018-2022, including net sales,

  6 COGS, gross margin, operating expenses, other income or expenses, net loss,

  7 quarterly sales projections, U.S. MIGS and Ivantis market share projections, five-year

  8 P&L, monthly P&L, sales forecast of units sold and revenues, and COGS analysis,

  9 including          costs   for   materials,    labor,     and     overhead         (IVNTS_00020417,
 10 IVNTS_00020740,              IVNTS_00022183,         IVNTS_00022345,                IVNTS_00020850,
 11 IVNTS_00020864, IVNTS_00020801, IVNTS_00020760, and IVNTS_00020869).

 12               Glaukos’s Request No. 31 seeks Ivantis’s financial statements, business plans,
 13 sales plans, and marketing plans relating to the Hydrus. In response, Ivantis has

 14 produced extensive financial documents showing actual and projected sales, revenue,

 15 and market share as noted above. In addition, Ivantis has produced an Operating Plan

 16 Summary presentation showing a P&L summary, sales ramp, and quarterly and

 17 annual market share for 2018-2022. See IVNTS_00012468-473. The P&L summary

 18 shows a financial summary of net sales, COGS, gross margin, operating expenses,

 19 including research and development, regulatory, clinical, and sales and marketing

 20 expenses, other income, and net loss.              Ivantis produced Operation Plan Update
 21 presentations          showing     P&L        summaries         and    operating           budgets.         See
 22 IVNTS_00020396-416 and IVNTS_00020418-428. Ivantis also produced a lengthy

 23 and detailed presentation for Ivantis’s September 2018 Board of Directors Meeting

 24 that includes a financial update showing July 2018 financial highlights, August 2018

 25 sales, and U.S. market share analysis based on U.S. revenue in the operating plan; a

 26 marketing plan section providing a MIGS market update, including information

 27 regarding Glaukos’s inject launch, a physician and sales training plan, a Hydrus

 28 reimbursement update, and promotional materials for Ivantis’s advertising campaign;


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  1 and slides regarding U.S. commercial roll-out, including certification and targets for

  2 new accounts. See IVNTS_00020283-389. Ivantis further produced U.S. Market

  3 Share Analysis presentations showing projections for Ivantis U.S. sales and market

  4 share based on market scope, conservative market growth, and moderate market

  5 growth. See IVNTS_00012474-493. Ivantis also produced Marketing Plan Update

  6 presentations showing Ivantis’s marketing strategy, Hydrus Microstent launch

  7 preparation, Ivantis’s key messages regarding the Hydrus, Hydrus Microstent

  8 customer targeting, market entry timing, and Hydrus campaign theme.                                   See
  9 IVNTS_00004926-938 and IVNTS_00004940-959.

 10               In contrast to Ivantis’s extensive productions in response to Request Nos. 29
 11 and 31, Glaukos to date has provided only the highest-level financial information for

 12 its corporation, contained mostly in publicly available SEC filings and through a

 13 scattered assortment of rough graphical representations of sales figures. Aside from

 14 a pricing and reimbursement models for the line of iStent products, Glaukos has

 15 produced no documentation reflecting the costs associated with manufacturing the

 16 devices, nor any documents reflecting the costs borne in the research and

 17 development,           sales, marketing, testing, and regulatory phases of product
 18 development.            Unlike Ivantis’s production, the documents produced fail to
 19 meaningfully demonstrate Glaukos’s cost of goods sold, operating costs, variable

 20 costs, and annual profit margins, all of which Ivantis has requested and is entitled to.

 21               Glaukos now vaguely complains that Ivantis has failed to produce “historical
 22 revenue sources and costs,” which it contends are responsive to its requests. As an

 23 initial matter, numerous documents in Ivantis’s production speak to Hydrus

 24 “historical” costs prior to commercial launch.           See, e.g., IVNTS_00012459-464)
 25 (spreadsheets of vendor deposits, showing costs from March, April, May, June, and

 26 July 2018 prior to commercialization); IVNTS_00012465(spreadsheet of clinical

 27 study accruals for March, April, May, June, and July 2018). Moreover, Glaukos has

 28


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  1 yet to articulate why or how such “historical costs” would be relevant to Glaukos’s

  2 potential damages in this case.

  3               To the extent that Glaukos intends to seek “lost profits” damages, Ivantis’s
  4 costs are irrelevant entirely insofar as the inquiry turns on “the amount of profit the

  5 patent owner would have made.” Standard Havens Prods., Inc. v. Gencor Indus.,

  6 Inc., 953 F.2d 1360, 1373 (Fed. Cir. 1991); see also Rite-Hite Corp. v. Kelley Co., 56

  7 F.3d 1538, 1545 (Fed. Cir. 1995) (“[T]he general rule for determining actual damages

  8 to a patentee that is itself producing the patented item is to determine the sales and

  9 profits lost to the patentee because of the infringement.”); Infinity Headware &

 10 Apparel v. Jay Franco & Sons, No. 15-CV-1259, 2015 WL 6444655, at *1 (S.D.N.Y.

 11 Oct. 23, 2015) (denying motion to compel accused infringer’s sales information from

 12 prior to infringement (patent issuance) because the information is irrelevant to lost

 13 profits). If Ivantis decides to pursue lost profits, its pre-launch costs are also irrelevant

 14 (unless they were to be factored in post-launch financials, in which case they have

 15 been or will be produced). For the same reason, pre-launch costs are not relevant to

 16 the “established profitability of the product made under the patent” under Georgia-

 17 Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970).

 18 See, e.g., Infinity Headware, 2015 WL 6444655, at *1 (rejecting assertion that sales

 19 information prior to infringement is relevant to Georgia-Pacific factors cited by

 20 Glaukos). Indeed, given that the hypothetical negotiation is to occur at the date of

 21 first infringement, Glaukos has failed to show why “historical” cost information and

 22 unrelated “revenue sources” would have any bearing on the hypothetical negotiation.

 23 See LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 75 (Fed. Cir. 2012)

 24 (“In general, the date of the hypothetical negotiation is the date that the infringement

 25 began.”).

 26               Despite the lack of relevance of Glaukos’s amorphous request for “historical”
 27 documentation, Ivantis will produce historical cost documents in short order, within

 28 30 days, to avoid burdening the Court with this issue.


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  1               Finally, to the extent Glaukos is asking Ivantis to perform a general and non-
  2 email search for the alleged “targeting of Glaukos customers,” this falls outside of the

  3 scope of both Request No. 29 (requesting documents sufficient to show certain

  4 financial information) and 31 (requesting financial statements, business plans,

  5 marketing plans, and sales plans). This issue is addressed below, however, with

  6 respect to Glaukos’s Disputed Issue #3.

  7               Disputed Issue #3: Whether Ivantis should be required to promptly
  8 produce selected documents responsive to Request for Production No. 39.

  9               The text of the requests at issue and Ivantis’s responses are below.
 10               REQUEST FOR PRODUCTION NO. 39: All documents and
 11               communications referring or relating to Glaukos, this lawsuit, any
 12               Glaukos Patents-in-Suit, or any inventor of the Glaukos Patents-in-Suit.
 13               RESPONSE TO REQUEST FOR PRODUCTION NO. 39: Ivantis
 14               incorporates its general objections. Ivantis objects to this Request to the
 15               extent it seeks “All” documents as overly broad and unduly
 16               burdensome, and disproportional to the needs of the case. Ivantis
 17               objects to this Request to the extent it seeks “[a]ll documents and
 18               communications referring or relating to Glaukos” as overly broad,
 19               unduly burdensome, and disproportional to the needs of the case.
 20               Ivantis also objects to the extent this Request seeks information subject
 21               to the attorney-client privilege, work product doctrine, and/or other
 22               applicable privilege. Subject to the foregoing objections, Ivantis invites
 23               Glaukos to meet and confer concerning the proper scope of this
 24               Request, if any.
 25               GLAUKOS’S CONTENTIONS REGARDING THE DISPUTED ISSUE
 26               Ivantis has produced few or no documents responsive to this request. Although
 27 Glaukos is willing to discuss narrowing portions of the request (and the parties have

 28 been discussing a potential global resolution involving a similar Ivantis request to


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  1 reduce burden for both sides),3 given the passage of time and need to prepare damages

  2 contentions, Glaukos cannot simply continue to wait for production of indisputably

  3 relevant documents directly relevant to damages. Accordingly, during the most recent

  4 correspondence and the last conference of counsel, Glaukos requested that Ivantis

  5 immediately produce the following subparts of the request:

  6                   • Documents relating to efforts by Ivantis to target Glaukos’s existing
  7                      customers and/or hire Glaukos employees knowledgeable about
  8                      Glaukos’s customers and pricing (see also discussion of RFP No. 31,
  9                      above);
 10                   • Documents relating to Glaukos’s financial metrics or regulatory strategy,
 11                      including without limitation documents using Glaukos’s past or current
 12                      financial metrics or regulatory strategy as a reference or input to Ivantis’s
 13                      plans or projections (see also RFP 29, above);
 14                   • Communications with investors, potential investors, customers, potential
 15                      customers, employees, and potential employees regarding similarities
 16                      between the Hydrus and Glaukos’s products or patents;
 17               Ivantis has not disputed that these documents are relevant and proportionate to
 18 the needs of the case, nor could it. Intent to copy the patentee’s technology and

 19 business model is highly relevant to willfulness, which serves as the predicate for

 20 enhancing damages. See, e.g., Read Corp. v. Portec, Inc., 970 F.2d 816, 826-27

 21 (Fed.Cir.1992) (listing factors relevant to willfulness including “deliberate copying”

 22 as part of competitive scheme). Further, it is axiomatic that a defendant’s attempts to

 23 leverage the patentee’s own use of the patented technology to gain an advantage in

 24 the marketplace and the extent to which the defendant is seeking to take existing

 25 customers from the patentee are centrally relevant to damages. See, e.g., Georgia-

 26 Pacific, 318 F. Supp. at 1120 (S.D.N.Y. 1970) (evidence relevant to reasonable

 27

 28           The parties will continue to meet and confer regarding the other portions of
                  3

      the request, including those relevant to infringement and to invalidity issues.

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  1 royalty includes “extent to which the infringer has made use of the invention; and any

  2 evidence probative of the value of that use”). Ivantis therefore should be ordered to

  3 produce these highly relevant documents without further delay.

  4                   IVANTIS’S CONTENTIONS REGARDING THE DISPUTED ISSUE
  5               Glaukos’s Request for Production No. 39 is incredibly broad. It seeks “[a]ll
  6 documents and communications referring or relating to Glaukos,” essentially seeking

  7 production of every single company document that mentions Glaukos, a major player

  8 in the narrow MIGS4 field where Ivantis operates. It is likely many, if not most, of

  9 these documents would contain only passing references to Glaukos and have no

 10 relevance to the claims and defenses in this case. Ivantis properly objected to this

 11 request as burdensome and disproportional to the needs of the case. Tellingly, even

 12 though Ivantis has propounded a request seeking Glaukos’s documents relating to

 13 Ivantis, other than publicly available documents such as SEC filings, Glaukos has

 14 produced only 15 internal documents that even mention Ivantis, and has not produced

 15 any emails mentioning Ivantis or Hydrus. Thus, Glaukos has made little, if any, effort

 16 to comply with Ivantis’s corresponding request.

 17               On September 6, 2018, Ivantis invited Glaukos to meet and confer to narrow
 18 the scope of its request. Since then, Glaukos made no effort to meaningfully refine

 19 Request No. 39 until December 17, 2018, shortly before Glaukos served Ivantis with

 20 its portion of this Joint Stipulation. But even that December 17 letter does little to

 21 address the overbreadth. To this day, Glaukos still has not agreed to limit the scope

 22 of the request to the narrowed categories. See supra at 19 (“Glaukos is willing to

 23 discuss narrowing portions of the request…”). Moreover, Glaukos’s supposed

 24 narrowing of the request is articulated differently in the December 17 letter and in this

 25 stipulation. Compare, e.g., Payne Decl., Ex. 6 at 5 (“Documents relating to

 26 positioning the FDA approval strategy for the Hydrus to track approaches used by

 27

 28               4
                      MIGS refers to Minimally Invasive Glaucoma Surgery.

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  1 Glaukos”) with supra at 20 (“Documents relating to Glaukos’s…regulatory

  2 strategy”). Glaukos’s tactic of making an unreasonably broad request and then

  3 moving to enforce sub-parts of it at a moment’s notice is an unreasonable approach

  4 to discovery and should be rejected outright.

  5               Nevertheless, Glaukos currently seeks to pursue three sub-categories of
  6 Request No. 39: (1) documents relating to alleged efforts by Ivantis to “target”

  7 Glaukos customers, including through hiring of Glaukos employees knowledgeable

  8 about those customers; (2) documents relating to Glaukos finances and regulatory

  9 strategy; and (3) communications regarding “similarities” between the Hydrus and

 10 Glaukos’s products or patents.

 11               Glaukos has not identified any plausible relevance for category (1), contending
 12 only that alleged efforts to target Glaukos customers is relevant to “deliberate

 13 copying,” which the Court can consider when enhancing damages after a finding of

 14 willful infringement. However, the only relevant “copying” for enhanced damages

 15 would be copying of Glaukos’s patent or a “commercial embodiment” of them. Read

 16 Corp. v. Portec, Inc., 970 F.2d 816, 827 & n.7 (Fed. Cir. 1992); see also Sonos, Inc.

 17 v. D&M Holdings Inc., No. CV 14-1330-WCB, 2017 WL 5633204, at *2-3 (D. Del.

 18 Nov. 21, 2017) (Bryson, C.J.) (permitting, on a motion in limine, admission of

 19 evidence of copying patentee’s “commercial embodiments of the patents-in-suit,” but

 20 excluding evidence of “copying that is unconnected to the commercial embodiments

 21 of the patent—such as marketing, branding, and websites”). Glaukos category (1) is

 22 not directed to copying relevant to willful patent infringement, but instead appears

 23 directed to a business tort or trade secret claim, which Glaukos has not pleaded.

 24 Glaukos’s motion should be denied with respect to category (1).

 25               With respect to categories (2) and (3) of Request No. 39, although Glaukos has
 26 not articulated a clear relevance, Ivantis will produce responsive non-privileged

 27 documents in short order within 30 days. However, Ivantis does request that the Court

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  1 find that Glaukos may not later re-narrow Request No. 39 to focus on new subsets of

  2 documents beyond those identified in this Stipulation.

  3

  4 Dated: January 3, 2019                Respectfully submitted,
  5                                       IRELL & MANELLA LLP
  6

  7                                       /s/ Lisa S. Glasser
  8                                       Attorneys for Plaintiff GLAUKOS
  9
                                          CORPORATION

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 11
      Dated: January 3, 2019              KEKER, VAN NEST & PETERS LLP
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 13
                                          /s/ David Silbert
 14
                                          Attorneys for Defendant IVANTIS, INC.
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